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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiffs,                                 8:14CR409

      vs.
                                                      MEMORANDUM AND ORDER
SHANE SEIZYS

                    Defendant.


       This matter is before the Court for initial review of the Motion Under 28 U.S.C. §

2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody (“§

2255 Motion"), ECF No. 382, filed by the Defendant, Shane Seizys. Also before the

Court are Seizys’s Motion to Compel, ECF No. 380, and Motion to Extend, ECF No.

381. Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United States

District Courts requires initial review of a defendant’s § 2255 motion. Rule 4(b) states:

              The judge who receives the motion must promptly examine it. If it
       plainly appears from the motion, any attached exhibits, and the record of
       prior proceedings that the moving party is not entitled to relief, the judge
       must dismiss the motion and direct the clerk to notify the moving party. If
       the motion is not dismissed, the judge must order the United States
       attorney to file an answer, motion, or other response within a fixed time, or
       to take other action the judge may order.

                                     BACKGROUND

       After pleading guilty to two separate counts of robbery in violation of 18 U.S.C. §

1951 and one count of brandishing a firearm during a crime of violence in violation of 18

U.S.C. § 924(c), Seizys received a sentence of 348 months’ incarceration, to be

followed by five years of supervised release. Judgment, ECF No. 251. The sentence
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was consistent with Seizys’s plea agreement, executed pursuant to Federal Rule of

Criminal Procedure 11(c)(1)(C). Plea Agreement, ECF No. 209, Page ID 653.

       After the plea agreement was executed and his guilty plea was entered, the

Court denied Seizys’s motion to withdraw his guilty plea and he appealed the Court’s

denial to the U.S. Court of Appeals for the Eighth Circuit. The Eighth Circuit affirmed

the denial, finding Seizys “waived his right to appeal the district court’s order denying his

motion to withdraw the guilty plea[ ]” in the plea agreement, and that his waiver was

knowing and voluntary. ECF No. 350-51, Page ID 2341; United States v. Seizys, 864

F.3d 930, 932 (8th Cir. 2017). He now submits his § 2255 Motion on several grounds.

                                       DISCUSSION

       At the outset, the Court notes that Seizys’s § 2255 Motion is timely and his

Motion for an Extension of time to file a motion under 28 U.S.C. § 2255 will be denied

as moot. Section 2255(f)(1) provides that a motion under that Section may be filed

within one year from “the date on which the judgment of conviction becomes final[.]”

Where a defendant directly appeals his conviction, the “judgment of conviction becomes

final when the time expires for filing a petition for certiorari contesting the appellate

court’s affirmation of the conviction.” Clay v. United States, 537 U.S. 522, 525 (2003).

The Eighth Circuit affirmed Seizys’s conviction on July 27, 2017, and the Rules of the

Supreme Court of the United States, in effect at that time, provided ninety days after the

Eighth Circuit’s entry of judgment to file a petition for writ of certiorari. U.S. Sup. Ct. R.

13.1 (2013). Seizys’s § 2255 Motion, dated May 19, 2018, and filed on May 29, 2018,

is, therefore, timely under 28 U.S.C. § 2255(f)(1).



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       Based on the preclusive effect of his direct appeal and the waiver of his

collateral-appeal rights in the plea agreement, Seizys’s § 2255 Motion is limited to an

assertion of ineffective assistance of counsel in connection with his execution of the

plea agreement and his ultimate guilty plea.

       Except for claims asserting ineffective assistance of counsel, a § 2255 petitioner

“may not raise an issue before the district court for the first time in a § 2255 motion if the

issue was not presented on direct appeal from the conviction.” Jennings, 696 F.3d at

762 (citing Mathews v. United States, 114 F.3d 112, 113 (8th Cir. 1997)); United States

v. Lewis, 483 F.3d 871, 873 n.2 (8th Cir. 2007) (“In general, an ineffective assistance of

counsel claim is not cognizable on direct appeal. Instead, such a claim is properly

raised in a 28 U.S.C. § 2255 action.”). Nor may the petitioner use § 2255 to “relitigate

matters decided on direct appeal.” Sun Bear v. United States, 644 F.3d 700, 702 (8th

Cir. 2011) (citing Davis v. United States, 417 U.S. 333, 346-347 (1974)).

       A defendant may also “waive the right to seek collateral relief under § 2255.”

Ackerland v. United States, 633 F.3d 698, 701 (8th Cir. 2011) (citing Chesney v. United

States, 367 F.3d 1055, 1058 (8th Cir. 2000)). “Such a waiver is enforceable when the

claim raised falls within the scope of the waiver, the defendant knowingly and voluntarily

entered into the plea agreement and waiver, and the enforcement of the waiver would

not result in a miscarriage of justice.” Ackerland, 633 F.3d at 701 (citing United States

v. Andis, 333 F.3d 886, 889-90 (8th Cir. 2003)). “A defendant signing a plea agreement

and assenting again at a plea hearing generally indicate a knowing and voluntary




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waiver.” United States v. Cooney, 875 F.3d 414, 416 (8th Cir. 2017).1 However, “an

otherwise valid waiver of post-conviction rights . . . does not prevent a defendant from

attacking ‘an illegal sentence[ ],’ which is one that exceeds the statutory range. 2

Ackerland, 633 F.3d at 702 (quoting Andis, 333 F.3d at 891-92).

        Seizys’s 2255 Motion asserts: (1) his counsel was ineffective; (2) the Court

lacked jurisdiction to impose his sentence; (3) the Court erroneously denied his request

to withdraw his guilty plea; (4) the Plea Agreement was unlawful and void; (5) the

Indictment, ECF No. 1, and Superseding Indictment, ECF No. 170, contained

insufficient information; (6) robbery under 18 U.S.C. § 1951 is not a crime of violence;

(7) the Court unlawfully accepted the Plea Agreement and departed from the United

States Sentencing Guidelines (the Guidelines); (8) the Court improperly departed from

the Guidelines by sentencing him to serve consecutive—rather than concurrent—terms

of incarceration; and (9) his sentence violated his due process rights.

        This Court has previously found, and the Eighth Circuit has affirmed, that Seizys

knowingly and voluntarily entered into the plea agreement which included a broad

waiver of both his direct-appeal and collateral-appeal rights. Seizys, 864 F.3d 930. On

direct appeal, the Eighth Circuit reviewed whether Seizys should have been allowed to



        1 “As a general rule,” courts in the Eighth Circuit should not “distinguish the enforceability of a

waiver of direct-appeal rights from a waiver of collateral-appeal rights in the plea agreement context.”
DeRoo v. United States, 223 F.3d 919, 923 (8th Cir. 2000); see also United States v. Andis, 333 F.3d
886, 887 (8th Cir. 2003).

        2 Although Seizys argues the Court misapplied the United States Sentencing Guidelines, he

makes no argument that his sentence exceeded the statutory range. See Ackerland, 633 F.3d at 702
(“Any sentence imposed within the statutory range is not subject to appeal. Specifically, an allegation that
the sentencing judge misapplied the Sentencing Guidelines or abused his or her discretion is not subject
to appeal in the face of a valid appeal waiver.”); see also 18 U.S.C. § 1951(a) (providing a maximum
sentence of twenty years); 18 U.S.C. § 924(c)(1)(A)(ii) (providing a minimum sentence of seven years).

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withdraw his guilty plea prior to sentencing and found that, based on the direct-appeal

waiver in the plea agreement, he waived his right to appeal that issue. Seizys, 864 F.3d

at 932. No other issue was raised on direct appeal. As such, he may not relitigate the

propriety of this Court’s decision to deny his motion to withdraw his guilty plea or any

other issue which could have been raised on direct appeal, except for his claim

asserting ineffective assistance of counsel.           This is also consistent with the plea

agreement which provides:

              The defendant [ ] knowingly and expressly waives any and all rights
       to contest the defendant’s conviction and sentence in any post-conviction
       proceedings, including any proceedings under 28 U.S.C. [§] 2255, except

               (a) The right to timely challenge the defendant’s conviction and the
                   sentence of the Court should the Eighth Circuit court of Appeals
                   or the United States Supreme Court later find that the charge to
                   which the defendant is agreeing to plead guilty fails to state a
                   crime.[3]

               (b) The right to seek post-conviction relief based on ineffective
                   assistance of counsel.

Plea Agreement, ECF No. 209, Page ID 655. Accordingly, Seizy’s § 2255 Motion is

limited to his claim of ineffective assistance of counsel.

       To establish ineffective assistance of counsel, Seizys must satisfy both prongs of

the test articulated by the United States Supreme Court in Strickland v. Washington,

466 U.S. 668 (1984).         The performance prong requires a showing that counsel

performed outside the wide range of reasonable professional assistance and made

errors so serious that counsel failed to function as the kind of counsel guaranteed by the

Sixth Amendment.         Id. at 687-89.       The prejudice prong requires a movant to

       3 Seizys’s § 2255 Motion does not challenge his conviction or sentence under this subsection of

the plea agreement.

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demonstrate that seriously deficient performance of counsel prejudiced the defense. Id.

at 687.    “To establish prejudice, the defendant must demonstrate a reasonable

probability that the result of the proceeding would have been different, but for counsel's

deficiency.” United States v. Luke, 686 F.3d 600, 604 (8th Cir. 2012). Therefore, in the

guilty plea context, “a defendant must establish a reasonable probability that he would

have exercised his right to a trial but for counsel’s ineffectiveness.” Watson v. United

States, 682 F.3d 740, 745 (8th Cir. 2012) (citing Hill v. Lockhart, 474 U.S. 52, 56

(1985)).

       Seizys’s ineffective assistance of counsel claim is based on a number of

asserted failures by his lawyer: (1) failure to “contest a fatally flawed indictment;” (2)

failure to object to Magistrate Judge F.A. Gossett’s Findings and Recommendation

denying Seizys’s motion to suppress evidence; (3) failure adequately to cross-examine

witnesses at the motion-to-suppress proceeding; (4) failure to advise Seizys on the

sufficiency of the evidence against him; and (5) failure to advise Seizys of the elements

of the crimes to which he pled guilty. He also claims his lawyer had a conflict of interest

because he “entered into an agreement with the attorney general’s office to not provide

[Seizys] with discovery material . . . .”     Motion, ECF No. 382, 2445.      At Seizys’s

sentencing proceeding, the Court found that he was not denied effective assistance of

counsel, ECF No. 285, Page ID 961, and it plainly appears from the record and the §

2255 Motion that Seizys is not now entitled to post-conviction relief.

       Despite his contentions otherwise, Seizys’s counsel objected to Magistrate Judge

Gossett’s Findings and Recommendation denying the motion to suppress, ECF No.

147; the Court advised Seizys of the elements that the Government would have to

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prove beyond a reasonable doubt in order to convict him,4 ECF No. 284, Page ID 939;

and both the original Indictment and the Superseding Indictment specifically identified

the robbery charged in Count II as the underlying crime of violence to support the

charge in Count III for a violation of 18 U.S.C. § 924(c). Thus, Seizys’s first, second,

and fifth asserted failures lack merit.

       Seizys’s third asserted failure is that, during the motion-to-suppress hearing, his

counsel insufficiently cross-examined the police officers who arrested him regarding

their conflicting testimony on the descriptions of the suspects. He claims the failure

resulted in an erroneous finding that the search and seizure of his person was

constitutional. In its Memorandum and Order adopting Magistrate Gossett’s Findings

and Recommendation, the Court acknowledged the officers’ inconsistent description

testimony and found that they, nevertheless, executed a constitutional stop, seizure,

and search of Seizys. ECF No. 161, Page ID 517-519. Thus, Seizys cannot satisfy the

prejudice prong of the Strickland test with this asserted failure because, even if his

counsel had more thoroughly cross-examined the officers on their description testimony,

it would not have changed the Court’s ruling on his motion to suppress evidence or the

circumstances bearing on his decision to enter into the plea agreement or plead guilty.

       Seizys’s fourth asserted failure is that his counsel did not “advise [him] there was

evidence that more than likely determined [his] innocence of Counts II and III.” Motion,

ECF No. 382, Page ID 2444. Seizys was on state parole at the time of the robbery

charged in Count II, and he was wearing an ankle monitoring device with GPS tracking



       4 The plea agreement itself also enumerated the elements of the crimes to which Seizys pled

guilty. ECF No. 209, Page ID 650-51.

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capability, which the Government used to connect him to that robbery.                         At his

sentencing hearing, where he moved to withdraw his guilty plea, Seizys argued the

Government could not prove him guilty of Counts II and III beyond a reasonable doubt

with the GPS location evidence.           That evidence is now one of the bases for his

ineffective assistance of counsel claim.

       It is unclear whether Seizys now claims his counsel withheld the GPS evidence

from him or that his counsel should have advised him this evidence would have been

insufficient to prove his guilt beyond a reasonable doubt. With respect to the former,

such an assertion directly contradicts Seizys’s representations in the plea agreement

that the GPS on his ankle monitor “was tracked to the [robbery charged in Count II] at

the time of” the robbery and that he “fully discussed” these facts with his counsel. Plea

Agreement, ECF No. 209, Page ID 651.5 Thus, he cannot now claim he was not made

aware of this evidence or that it was withheld from him. With respect to the later, it is

clear from the record that Seizys’s counsel provided him the reasonable professional

assistance guaranteed by the Sixth Amendment.

       With respect to his final claim, that his counsel was ineffective because of a

conspiracy with the Attorney General’s office, Seizys offers no evidence to support his

claim of such a conspiracy.

       Accordingly, it plainly appears from the record and Seizys’s § 2255 Motion that

he is not entitled to post-conviction relief under 28 U.S.C. § 2255.

       IT IS ORDERED:



       5 Seizys also reaffirmed these representations at his change-of-plea hearing.   Transcript, ECF
No. 284.

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      1. Defendant Shane Seizys’s Motion Under 28 U.S.C. § 2255 to Vacate, Set

         Aside, or Correct Sentence by a Person in Federal Custody, ECF No. 382, is

         denied;

      2. Defendant Shane Seizys’s Motion to Extend, ECF No. 381, and Motion to

         Compel, ECF No. 380, are denied as moot;

      3. A separate Judgment will be entered, denying the § 2255 Motion; and

      4. The Clerk will mail a copy of this Memorandum and Order to Defendant

         Shane Seizys at his last known address.



      Dated this 28th day of June, 2018.


                                                 BY THE COURT:

                                                 s/Laurie Smith Camp
                                                 Chief United States District Judge




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